  Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 1 of 17 PageID #:1



                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 FEDERAL TRADE COMMISSION,                                  19-cv-2517
                                                  Case No. ____________

         Plaintiff,                               COMPLAINT FOR PERMANENT
                                                  INJUNCTION AND OTHER
         v.                                       EQUITABLE RELIEF

 AVANT, LLC,

         Defendant.


       Plaintiff, the Federal Trade Commission (“FTC”), for its Complaint alleges:

       1.       The FTC brings this action under Section 13(b) of the Federal Trade

Commission Act (“FTC Act”), 15 U.S.C. § 53(b); Section 6 of the Telemarketing and

Consumer Fraud and Abuse Prevention Act (the “Telemarketing Act”), 15 U.S.C. § 6105;

and the Electronic Fund Transfer Act (“EFTA”), 15 U.S.C. §§ 1693-1693r, to obtain

permanent injunctive relief, rescission or reformation of contracts, restitution, the refund

of monies paid, disgorgement of ill-gotten monies, and other equitable relief for

Defendant’s acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C.

§ 45(a); the FTC’s Telemarketing Sales Rule (“TSR”), 16 C.F.R. Part 310; and EFTA

and its implementing Regulation E, 12 C.F.R. § 1005.10.

                             JURISDICTION AND VENUE

       2.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

1337(a), and 1345, and 15 U.S.C. §§ 45(a) and 53(b).




                                              1
  Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 2 of 17 PageID #:2



       3.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1)-(2), (c)(2),

and (d), and 15 U.S.C. § 53(b).

                                       PLAINTIFF

       4.      The FTC is an independent agency of the United States government

created by statute. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) of the FTC Act,

15 U.S.C. § 45(a), which prohibits unfair and deceptive acts or practices in or affecting

commerce. The FTC also enforces the Telemarketing Act, 15 U.S.C. §§ 6101-6108.

Pursuant to the Telemarketing Act, the FTC promulgated and enforces the TSR,

16 C.F.R. Part 310, which prohibits deceptive and abusive telemarketing acts or practices

in or affecting commerce. The FTC also enforces EFTA, 15 U.S.C. §§ 1693-1693r,

which provides individual consumer rights to participants in electronic fund transfer

systems.

       5.      The FTC is authorized to initiate federal district court proceedings, by its

own attorneys, to enjoin violations of the FTC Act, the TSR, and EFTA, and to secure

such equitable relief as may be appropriate in each case, including rescission or

reformation of contracts, restitution, the refund of monies paid, and the disgorgement of

ill-gotten monies. 15 U.S.C. §§ 53(b) and 56(a)(2)(A).

                                      DEFENDANT

       6.      Defendant Avant, LLC (“Avant”) is a Delaware corporation with its

principal place of business in Chicago, Illinois. Avant transacts or has transacted

business in this district and throughout the United States. At all times material to this

Complaint, Avant has advertised, marketed, and distributed personal loans to consumers

throughout the United States.



                                              2
  Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 3 of 17 PageID #:3



                                     COMMERCE

       7.      At all material times to this Complaint, Avant has maintained a substantial

course of trade in or affecting commerce, as “commerce” is defined in section 4 of the

FTC Act, 15 U.S.C. § 44.

                      DEFENDANT’S BUSINESS PRACTICES

       8.      Since 2013, Avant has advertised, marketed, and offered loans to

consumers online, with loan amounts ranging from $1,000 to $35,000. Avant handles all

stages of the loan process and all consumer interactions including advertising, application

processing, and all aspects of loan servicing, including collection of payments. The loans

are formally issued by an FDIC-insured bank.

       9.        Avant has engaged in a pattern of deceptive and unfair conduct

regarding consumers’ payments and payment information. Avant has deceived

consumers about its acceptance of credit and debit cards and has failed to timely apply

paper payments. Avant has also deceived consumers about the amount needed to pay off

their loans, and has collected or attempted to collect additional payments from consumers

who have already paid the quoted payoff amount. In addition, Avant has charged

payments that consumers did not authorize, including charging some consumers as many

as eleven times in a single day. Avant’s conduct has resulted in late fees and additional

interest and caused consumers’ credit to be damaged by false reports of defaults and

deficiencies that many consumers have been unable to correct even after months of

trying. Finally, Avant has taken payment by remotely created checks, which it is

prohibited from doing in connection with telemarketing, and has conditioned the




                                             3
  Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 4 of 17 PageID #:4



extension of credit to those consumers on their pre-authorization of recurring electronic

fund transfers.

    ILLEGAL PAYMENT METHODS, MISREPRESENTATION OF OTHER

  PAYMENT METHODS AND FAILURE TO TIMELY CREDIT CONSUMER

                                        PAYMENTS

       10.        As part of its loan application, Avant requires consumers to authorize

Avant to initiate recurring electronic fund transfers or remotely created checks for

consumers’ periodic loan payments, as a condition of obtaining credit from Avant. Avant

has engaged in telephone contact with consumers during the loan application process to

induce the consumers to complete the application, in some instances by calling

consumers who have started the application process and in other instances by helping

consumers who call Avant begin the application over the telephone. Many of these

consumers have used remotely created checks to make loan payments.

       11.        Avant is a telemarketer engaged in telemarketing as those terms are

defined by the TSR. 16 C.F.R. § 310(ff) and (gg). The TSR prohibits telemarketers from

using remotely created checks as payment for goods or services. 16 C.F.R. § 310.4(a)(9).

Therefore, when engaged in telemarketing, Avant provides only one legal payment

method as a condition of extending credit: electronic fund transfers.

       12.        Avant represents that after consumers complete the loan application, they

can change their payment method and make payments using a number of payment

methods. Avant’s loan contract informs consumers that, they “may choose to repay by

any other reasonable form of payment, including but not limited to paper check, money

order, debit card or credit card.” Avant’s website also informs consumers that they can



                                              4
  Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 5 of 17 PageID #:5



make payments through a variety of methods, provides a list of the credit and debit cards

Avant accepts, and states that Avant accepts paper checks, cashier checks, and money

orders through the mail.

       13.      Despite this representation, Avant has rejected payments by credit or

debit card.

       14.      In many instances, when consumers have contacted Avant to make

payments by credit card or debit card, Avant has refused to accept those payments and

told consumers that they must use a different payment method. As a result, some

consumers have found themselves unable to make a payment towards their principal or to

make a payoff on the date from which the quoted payoff amount is calculated because

they needed additional time to arrange for a different form of payment. In many

instances, as a result, consumers have been charged additional interest on their loans.

       15.      In response to many complaints from consumers who requested to make

payments using a credit card or debit card, Avant has stated that its policy is not to accept

such payments, even though it continues to represent the opposite in its contracts and on

its website. For a time, Avant indicated that it would not accept credit or debit card

payments over a certain amount in an article on the “FAQ” section of its website, but it

subsequently removed that language while continuing to deny such payments.

       16.      In many other instances, Avant has failed to apply timely paper payments

to the monthly payment amounts, instead charging consumers additional interest and late

fees. In some cases, Avant failed to deposit paper checks or money orders or to credit

deposited amounts to the consumers’ accounts for many weeks. Avant has been aware of

consumer complaints about mishandled paper payments, including many complaints from



                                              5
  Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 6 of 17 PageID #:6



consumers whose paper payments were not cashed or applied to their accounts for weeks

or months after Avant received them, but Avant nevertheless has failed to institute

routine mail handling controls, such as date-stamping envelopes when received, to ensure

that the company timely processes paper payments.

     MISREPRESENTATION OF LOAN PAYOFF AMOUNT AND UNFAIR

                    COLLECTION FROM PAID-OFF BORROWERS

       17.      Avant further represents to consumers through its website and loan

contract that they can pay their loans early, either in full or in part, without incurring any

fees or penalties. Consumers who wish to pay the entire balance of the loan prior to the

end of the term can request a payoff quote from Avant. Because Avant charges daily

simple interest on its loans, in which interest accrues each day instead of monthly,

consumers cannot easily calculate the necessary payoff amount themselves, and the

necessary payoff amount depends on the date on which the consumer will make the

payoff. Consumers can request a payoff quote by contacting Avant via telephone, email,

chat, or through Avant’s online dashboard. In response, Avant will provide a payoff

quote that is calculated for a particular date, and consumers can make the payoff on or

before that date.

       18.      In many instances, consumers have paid the amount quoted on or before

the date provided by Avant. In some of these instances, the consumers have received an

email from Avant stating that their balance was paid in full. In some other instances,

once a consumer made a payoff payment, the consumer received verbal confirmation

from an Avant employee that the loan was paid off.




                                               6
  Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 7 of 17 PageID #:7



       19.      Despite these representations, in at least hundreds of instances after

consumers have paid the quoted payoff amount, including instances where Avant has

confirmed that the loan was paid off, Avant has later insisted that these consumers have

not in fact paid off their loans and still owe Avant some additional amount of money. In

some of these instances, Avant has stated that the prior payoff quote was erroneous. In

other instances, Avant required consumers to make a regularly scheduled payment in

addition to the payoff amount. For example, after one consumer paid the quoted payoff

amount, Avant debited an additional payment from his account, resulting in the consumer

incurring overdraft fees because the consumer’s bank account lacked sufficient funds to

cover the additional payment.

       20.      In many instances, Avant has assessed, collected, or attempted to collect

additional payments from consumers who have paid their loans in full. In some

instances, weeks or months after consumers have paid off their loans, Avant has called or

sent emails telling them that they had outstanding balances. For example, one consumer

received email confirmation that he had paid off his loan but months later began

receiving collection emails and calls. Other consumers have learned about a past balance

due only after Avant has deducted an additional payment from their bank account without

prior warning, which in some instances has occurred weeks or months after the

consumers paid the payoff amount quoted by Avant.

       21.      In many instances, Avant has charged consumers fees and additional

interest that has accrued on their loans and charged consumers late fees for missing

payments, after consumers had paid the amounts that Avant represented were sufficient

to pay off their loans. Avant has charged consumers at least thousands of dollars in such



                                            7
  Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 8 of 17 PageID #:8



fees and interest. And in many cases, Avant has reported their loans as delinquent to a

consumer reporting agency.

       22.      Consumers have contacted Avant after learning that Avant later deemed

their loans not paid in full and after Avant’s post-payoff collection attempts. Many

consumers have spent weeks or months contacting Avant repeatedly in order to resolve

outstanding balances that Avant claims they owe or to recover money Avant collected

from them after payoff.

       23.      Avant has received hundreds of complaints from consumers about

incorrect payoff quotes and subsequent collection efforts. In internal documents, Avant

has acknowledged persistent, unaddressed problems with its payoff quotes and practice of

taking additional payments after consumers pay the quoted payoff amount. Nevertheless,

Avant has continued to provide payoff quotes to consumers, but not considered the loans

fully paid when consumers have paid the amount quoted, and has assessed additional

charges and attempted to collect additional amounts from those consumers.

                             UNAUTHORIZED CHARGES

       24.      In at least hundreds of instances, Avant has withdrawn money from

consumers’ accounts or charged their credit cards without consumers’ authorization, or in

amounts in excess of the amount consumers authorized. These unauthorized charges

have occurred in multiple ways.

       25.      In numerous instances, Avant has charged consumers duplicate payments

without authorization, improperly taking consumers’ monthly payments twice or more in

one month. Monthly payment amounts are typically hundreds of dollars. For example,




                                            8
  Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 9 of 17 PageID #:9



one consumer’s monthly payment was debited from his account eleven times in a single

day.

       26.      In numerous other instances, Avant has taken consumers’ monthly

payment amounts even after those consumers have already paid off their loans. For

example, one consumer’s bank account was debited twice in September 2015 even

though she had paid off her loan at least six months earlier.

       27.      In numerous other instances, Avant has taken the entire payoff balance of

a consumer’s loan without authorization. Payoff balances are typically at least hundreds

of dollars. For example, one consumer called Avant’s customer service number asking to

lower his monthly payment, and instead was charged his entire balance.

       28.      In numerous other instances, Avant has taken a consumers’ payoff

balance twice. For example, one consumer attempted to pay off her loan by credit card,

and Avant placed two charges on her card, each for the full payoff amount.

       29.      Many consumers only learn of Avant’s unauthorized charges when they

check their bank statements or credit card statements, or when they learn that their

accounts have been overdrawn or that other payments they have made from their bank

accounts have been rejected. In many instances, when consumers have called to

complain about the charges, Avant has informed them that the unauthorized payments

were caused by a “known issue.”

       30.      As a result of Avant’s unauthorized charges, many consumers are forced

to pay overdraft fees, while other consumers are unable to pay other bills because they do

not have access to the money that Avant improperly took. For example, one consumer’s

account was overdrawn by hundreds of dollars after Avant withdrew his monthly



                                             9
Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 10 of 17 PageID #:10



payment three times in one day, causing him to incur two overdraft fees from his bank

and fall behind with four other creditors who were unable to bill his account. In many

instances, when consumers have complained about the unauthorized charges, Avant has

insisted that the consumers authorized the charges and refused to provide a refund. In

other instances, Avant has demanded that consumers provide documentation

demonstrating that the unauthorized charges occurred, rather than simply checking its

own records.

       31.     Despite hundreds of consumer complaints about unauthorized charges,

and even though internal documents show that Avant has repeatedly acknowledged this

problem, often blaming “system issues,” Avant has continued to charge consumers

without authorization.

                           VIOLATIONS OF THE FTC ACT

       32.     Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or

deceptive acts or practices in or affecting commerce.”

       33.     Misrepresentations or deceptive omissions of material fact constitute

deceptive acts or practices prohibited by Section 5(a) of the FTC Act.

       34.     Acts or practices are unfair under Section 5 of the FTC Act if they cause

or are likely to cause substantial injury to consumers that consumers cannot reasonably

avoid themselves and that is not outweighed by countervailing benefits to consumers or

competition. 15 U.S.C. § 45(n).

                                          Count I

       35.     In numerous instances, in connection with the advertising, marketing,

promotion, offering for sale, sale, or servicing of loans, Avant has represented, directly or



                                             10
Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 11 of 17 PageID #:11



indirectly, expressly or by implication, that it will accept payments by credit or debit

cards.

         36.   In truth and in fact, in numerous instances, Avant has rejected payments

made by credit and debit cards.

         37.   Therefore, Avant’s representation as set forth in Paragraph 34 is false or

misleading and constitutes a deceptive act or practice in violation of Section 5(a) of the

FTC Act, 15 U.S.C. § 45(a).

                                          Count II

         38.   In numerous instances, in connection with the advertising, marketing,

promotion, offering for sale, sale, or servicing of loans, Avant has failed to credit

consumer payments made by paper check or money order in a timely manner.

         39.   Avant’s actions cause or are likely to cause substantial injury to

consumers that consumers cannot reasonably avoid themselves and that is not

outweighed by countervailing benefits to consumers or competition.

         40.   Therefore, Avant’s practices as described in Paragraph37 above constitute

unfair acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. §§ 45(a) and

45(n).

                                         Count III

         41.   In numerous instances, in connection with the advertising, marketing,

promotion, offering for sale, sale, or servicing of loans, Avant has represented, directly or

indirectly, expressly or by implication, that if consumers pay a specified amount, their

loan will be paid off.




                                             11
Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 12 of 17 PageID #:12



         42.   In truth and in fact, in numerous instances in which Avant has made the

representation set forth in Paragraph 40, and consumers have paid the specified amount,

Avant has insisted the loan has not been paid off.

         43.   Therefore, Avant’s representation as set forth in Paragraph 40 is false or

misleading and constitutes a deceptive act or practice in violation of Section 5(a) of the

FTC Act, 15 U.S.C. § 45(a).

                                         Count IV

         44.   In numerous instances, in connection with the advertising, marketing,

promotion, offering for sale, sale, or servicing of loans, Avant has assessed, collected, or

attempted to collect additional amounts from consumers who have paid the payoff

amount quoted by Avant.

         45.   Avant’s actions cause or are likely to cause substantial injury to

consumers that consumers cannot reasonably avoid themselves and that is not

outweighed by countervailing benefits to consumers or competition.

         46.   Therefore, Avant’s practices as described in Paragraph 43 above constitute

unfair acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. §§ 45(a) and

45(n).

                                         Count V

         47.   In numerous instances, Avant has withdrawn money from consumers’

bank accounts or charged borrowers’ credit cards without borrowers’ authorization, or in

amounts in excess of borrowers’ authorization.




                                             12
Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 13 of 17 PageID #:13



         48.    Avant’s actions have caused substantial injury to consumers that

consumers cannot reasonably avoid themselves and that is not outweighed by

countervailing benefits to consumers or competition.

         49.    Therefore, Avant’s practices as described in Paragraph 46 above constitute

unfair acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. §§ 45(a) and

45(n).

               VIOLATIONS OF THE TELEMARKETING SALES RULE

         50.    Congress directed the FTC to prescribe rules prohibiting abusive and

deceptive telemarketing acts or practices pursuant to the Telemarketing Act, 15 U.S.C. §§

6101-6108. The FTC adopted the original TSR in 1995, extensively amended it in 2003,

and amended certain provisions thereafter. 16 C.F.R. Part 310.

         51.   Avant is a “seller” or “telemarketer” engaged in “telemarketing” as defined

by the TSR, 16 C.F.R. § 310.2(dd), (ff), and (gg). A “seller” means any person who, in

connection with a telemarketing transaction, provides, offers to provide, or arranges for

others to provide goods or services to a customer in exchange for consideration. 16

C.F.R. § 310.2(dd). A “telemarketer” means any person who, in connection with

telemarketing, initiates or receives telephone calls to or from a customer or donor. 16

C.F.R. § 310.2(ff). “Telemarketing” means a plan, program, or campaign which is

conducted to induce the purchase of goods or services or a charitable contribution, by use

of one or more telephones and which involves more than one interstate telephone call. 16

C.F.R. § 310.2(gg).

         52.   The TSR prohibits sellers and telemarketers from creating or causing to be

created, directly or indirectly, a remotely created payment order as payment for goods or



                                             13
Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 14 of 17 PageID #:14



services offered or sold through telemarketing. 16 C.F.R. § 310.4(a)(9). A remotely

created payment order includes a remotely created check. 16 C.F.R. § 310.2(cc).

       53.   Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C. § 6102(c), and

Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of the TSR

constitutes an unfair or deceptive act or practice in or affecting commerce, in violation of

Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                         Count VI

       54.   In numerous instances, Avant has created or caused to be created, directly or

indirectly, a remotely created check as payment for goods or services offered or sold

through telemarketing.

       55.   Avant’s acts and practices, as described in Paragraph 53 of this Complaint,

are abusive telemarketing acts or practices that violate Section 310.4(a)(9) of the TSR, 16

C.F.R. § 310.4(a)(9).

                  VIOLATIONS OF EFTA AND REGULATION E

       56.   Avant is a “person” as this term is defined in Section 1005.2(j) of

Regulation E, 12 C.F.R. § 1005.2(j).

       57.   Section 913(1) of EFTA, 15 U.S.C. § 1693k(1), provides that no person may

condition the extension of credit to a consumer on such consumer’s repayment by means

of preauthorized electronic fund transfers.

       58.   Section 1005.10(e)(1) of Regulation E, 12 C.F.R. § 1005.10(e)(1), provides

that “[n]o financial institution or other person may condition an extension of credit to a

consumer on the consumer’s repayment by preauthorized electronic fund transfers,

except for credit extended under an overdraft credit plan or extended to maintain a



                                              14
Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 15 of 17 PageID #:15



specified minimum balance in the consumer’s account.”

       59.   The Official Interpretation of Regulation E, Section 1005.10(e)(1), 12 C.F.R

§ 1005.10(e)(1)-1, Supp. I, provides that creditors may not require repayment of loans by

electronic means on a preauthorized recurring basis.

       60.   Pursuant to Section 918(c) of EFTA, 15 U.S.C. § 1693o(c), every violation

of EFTA and Regulation E constitutes a violation of the FTC Act.

                                        Count VII

       61.      In numerous instances, in connection with loans offered to consumers,

Avant has conditioned the extension of credit on recurring preauthorized electronic fund

transfers, thereby violating Section 913(1) of EFTA, 15 U.S.C. § 1693k(1), and Section

1005.10(e)(1) of Regulation E, 12 C.F.R § 1005.10(e)(1).

      62.     By engaging in the violations of EFTA and Regulation E set forth in

Paragraph 60 of this Complaint, Avant has violated the FTC Act.

                                 CONSUMER INJURY

       63.      Consumers have suffered and will continue to suffer substantial injury as

a result of Avant’s violations of the FTC Act, the TSR, and EFTA and Regulation E. In

addition, Avant has been unjustly enriched as a result of its unlawful acts or practices.

Absent injunctive relief by this Court, Avant is likely to continue to injure consumers,

reap unjust enrichment, and harm the public interest.

                   THIS COURT’S POWER TO GRANT RELIEF

       64.     Section 13(b) of the FTC Act, 15 U.S.C. § 53(b) empowers this Court to

grant injunctive and such other relief as the Court may deem appropriate to halt and

redress violations of any provision of law enforced by the FTC. The Court, in the



                                             15
Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 16 of 17 PageID #:16



exercise of its equitable jurisdiction, may award ancillary relief, including rescission or

reformation of contracts, restitution, the refund of monies paid, and the disgorgement of

ill-gotten monies, to prevent and remedy any violation of any provision of law enforced

by the FTC.

                                 PRAYER FOR RELIEF

       Wherefore, Plaintiff FTC, pursuant to Section 13(b) of the FTC Act, 15 U.S.C.

§ 53(b), and Section 6(b) of the Telemarketing Act, 15 U.S.C. § 6105(b), and the Court’s

own equitable powers, requests that the Court:

       A.      Enter a permanent injunction to prevent future violations of the FTC Act,

the TSR, and EFTA and Regulation E by Defendant;

       B.      Award such relief as the Court finds necessary to redress injury to

consumers resulting from Defendant’s violations of the FTC Act, the TSR, EFTA and

Regulation E, including but not limited to, rescission or reformation of contracts,

restitution, the refund of monies paid, and the disgorgement of ill-gotten monies; and

       C.      Award Plaintiff the costs of bringing this action, as well as such other and

additional relief as the Court may determine to be just and proper.




                                             16
Case: 1:19-cv-02517 Document #: 1 Filed: 04/15/19 Page 17 of 17 PageID #:17
